Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 1 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 2 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 3 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 4 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 5 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 6 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 7 of 8
Case 2:21-cr-00650-SMB Document 1 Filed 08/03/21 Page 8 of 8
